Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 1 of 28 PageID #: 1




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

  LARRY ARMSTRONG, an individual,

           Plaintiff,                        JURY TRIAL DEMANDED

                         vs.

  Cook Incorporated; Cook Medical
  Incorporated; Cook Group Incorporated;
  Cook Medical, LLC,

           Defendants.

                                  COMPLAINT
      Plaintiff LARRY ARMSTRONG, by and through his undersigned attorneys,

hereby sues Defendants Cook Incorporated, Cook Medical Incorporated, Cook

Group Incorporated, and Cook Medical, LLC, and alleges as follows:

                                    PARTIES

      1.       Plaintiff LARRY ARMSTRONG (hereinafter “Plaintiff”) at all times

relevant to this action resided in, continues to reside in, and is a citizen of Wayne

County, Michigan.

      2.       Defendant Cook Incorporated was and is an Indiana corporation with

its principal place of business located at 750 Daniels Way, Bloomington, Indiana

47402.     At all times relevant to this action, Cook Incorporated designed, set

specifications, manufactured, prepared, compounded, assembled, processed,




                                         1
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 2 of 28 PageID #: 2




promoted, marketed, distributed and/or sold the inferior vena cava filter (“IVC

Filter”) known as the Celect™ Vena Cava Set (hereinafter “Cook filter”) to be

implanted in patients throughout the United States, including Michigan. At all times

relevant hereto, Defendant Cook Incorporated was engaged in business in Michigan,

has conducted substantial business activities, and derived substantial revenue from

within the State of Michigan. This Defendant has also carried on solicitations or

service activities in Michigan.

      3.     Defendant Cook Medical Incorporated is a wholly owned subsidiary of

Defendant Cook Incorporated with its principal place of business located at 750

Daniels Way, Bloomington, Indiana 47402. Defendant Cook Medical Incorporated

was and is an Indiana corporation authorized and/or doing business in the state of

Michigan. At all times relevant to this action, Cook Medical Incorporated designed,

set specifications, manufactured, prepared, compounded, assembled, processed,

promoted, marketed, distributed and/or sold the IVC Filter known as the Celect™

Vena Cava Set to be implanted in patients throughout the United States, including

Michigan. At all times relevant hereto, Defendant Cook Medical Incorporated was

engaged in business in Michigan, has conducted substantial business activities, and

derived substantial revenue from within the State of Michigan. This Defendant has

also carried on solicitations or service activities in Michigan.

      4.     Defendant Cook Group Incorporated was and is an Indiana corporation



                                           2
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 3 of 28 PageID #: 3




having its principal place of business located at 750 Daniels Way, Bloomington,

Indiana 47402. At all times relevant to this action, Cook Group Incorporated

designed, set specifications, manufactured, prepared, compounded, assembled,

processed, promoted, marketed, distributed and sold the IVC Filter known as the

Celect™ Vena Cava Set to be implanted in patients throughout the United States,

including Michigan.     At all times relevant hereto, Defendant Cook Group

Incorporated was engaged in business in Michigan, has conducted substantial

business activities, and derived substantial revenue from within the state of

Michigan. This Defendant has also carried on solicitations or service activities in

Michigan.

      5.    Defendant Cook Medical, LLC was and is an Indiana limited liability

corporation with its principal place of business located at 750 Daniels Way,

Bloomington, Indiana 47402 with its sole member being Cook Incorporated and

maintains its principal place of business located at 750 Daniels Way, Bloomington,

Indiana 47402. At all times relevant to this action, Cook Medical, LLC designed,

set specifications, manufactured, prepared, compounded, assembled, processed,

promoted, marketed, distributed and/or sold the IVC Filter known as the Celect™

Vena Cava Set to be implanted in patients throughout the United States, including

Michigan. At all times relevant hereto, Cook Medical, LLC was registered to do

business with the state of Michigan. At all times relevant hereto, Defendant Cook



                                        3
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 4 of 28 PageID #: 4




Medical LLC was engaged in business in Michigan, has conducted substantial

business activities, and derived substantial revenue from within the state of

Michigan. This Defendant has also carried on solicitations or service activities in

Michigan.

      6.     Defendants Cook Incorporated, Cook Medical Incorporated, Cook

Group Incorporated, and Cook Medical, LLC, shall be referred to herein individually

by name or collectively as the “Cook Defendants.”

      7.     At all times alleged herein, Cook Defendants include and included any

and all parent companies, subsidiaries, affiliates, divisions, franchises, partners, joint

venturers, and organizational units of any kind, their predecessors, successors, and

assigns and their officers, directors, employees, agents, representatives, and any and

all other persons acting on their behalf.

      8.     At all times herein mentioned, each of the Cook Defendants were the

agents, servants, partners, predecessors in interest, and joint venturers of each other,

and were at all times operating and acting with the purpose and scope of said agency,

service, employment, partnership, joint enterprise, and/or joint venture.

                          JURISDICTION AND VENUE

      9.     Jurisdiction is proper in this court under 28 U.S.C.§ 1332(a)(1) because

the Plaintiff and the Defendants are citizens of different states, and the amount in

controversy exceeds seventy-five thousand dollars ($75,000.00), exclusive of



                                            4
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 5 of 28 PageID #: 5




interest and costs.

      10.    Venue is proper in this court under 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claim occurred within

this judicial district and the Defendants regularly conduct business in this district.

                      GENERAL FACTUAL ALLEGATIONS

      11.    Plaintiff brings this case against the Cook Defendants because of the

serious, life-threatening injury he has suffered as a result of the Cook Defendants’

surgically implanted medical device, the Cook Celect filter, that was implanted by

Michael F. Zydeck, M.D. at Oakwood Hospital and Medical Center in Dearborn,

Michigan on January 26, 2015.

      12.    Cook Defendants design, research, develop, manufacture, test, market,

advertise, promote, distribute, and sell IVC filters, which are marketed and sold as

both permanent and retrievable devices, purportedly to prevent recurrent pulmonary

embolism. One such product is the Cook Celect IVC filter at issue in this case.

      13.    Cook Defendants sought Food and Drug Administration (“FDA”)

clearance to market the Cook Celect filter device and/or its components under

Section 510(k) of the Medical Device Amendment.

      14.    On or about April 20, 2007, Defendants obtained FDA clearance to

market the Cook Celect filter under Section 510(k) of the Medical Device

Amendment.



                                           5
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 6 of 28 PageID #: 6




      15.    Section 510(k) allows marketing of medical devices if the manufacturer

claims the device is substantially equivalent to other legally marketed predicate

devices, without formal review of the safety or efficacy of said device. The Cook

Defendants claimed that the Celect filter was substantially equivalent to the Cook

Gunther Tulip IVC filter, a medical device cleared by the FDA under the Section

510k process on October 18, 2000.

      16.    An IVC filter, like the Cook Celect filter, is a device ostensibly

designed and intended to filter blood clots (called “thrombi”) that would otherwise

travel from the lower portions of the body to the heart and lungs, resulting in a

pulmonary embolism (PE). IVC filters are marketed as being safe to implant, either

temporarily or permanently, within the vena cava.

      17.    The inferior vena cava is a vein that returns blood to the heart from the

lower portions of the body. In certain people, and for various reasons, thrombi travel

from vessels in the legs and pelvis, through the vena cava and into the heart and

lungs. These thrombi can develop in the deep leg veins. This condition is called

“deep vein thrombosis” or DVT. If the thrombi reach the lungs they are considered

“pulmonary emboli” or PE.

      18.    The Celect filter is a retrievable filter and is alleged by Cook as being

substantially similar to the Cook Defendants’ Gunther Tulip filter, its predicate

device.



                                          6
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 7 of 28 PageID #: 7




      19.    The Celect filter has four (4) anchoring legs, or struts, for fixation

within the IVC and eight (8) independent secondary struts claimed by Cook to

improve self-centering and clot trapping.

      20.    On or about January 26, 2015, Plaintiff was implanted with a Cook

Celect filter at Oakwood Hospital and Medical Center in Dearborn, Michigan. The

Cook Celect filter placed in Plaintiff was marketed and sold as appropriate for use

as either a retrievable or permanent filter.

      21.    Plaintiff’s Cook Celect filter subsequently malfunctioned and caused

injury and damages to Plaintiff. In particular, multiple prongs of the Cook Celect

filter have perforated his inferior vena cava. One prong has further perforated

Plaintiff’s aorta. Plaintiff is at risk for future progressive perforations by the Celect

filter which could further injure adjacent organs, blood vessels, and structures, as

well as fracturing of the IVC filter and migration of the Celect filter or pieces thereof.

Plaintiff faces numerous health risks, including the risk of death. Plaintiff will

require ongoing medical care and monitoring for the rest of his life. It is unknown

if the filter can be retrieved by any means other than an open surgical procedure.

      22.    At all times relevant hereto, the Cook Celect filter was widely

advertised and promoted by the Cook Defendants as safe and effective for prevention

of recurrent pulmonary embolism.

      23.    At all times relevant to this complaint, the Cook Defendants knew or



                                            7
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 8 of 28 PageID #: 8




should have known that the Cook Celect IVC filter was defective and knew that

defect was attributable to the design’s failure to withstand the normal anatomical

and physiological loading cycles exerted in vivo.

      24.    The Cook Defendants failed to disclose to physicians, patients, or

Plaintiff that its retrievable IVC filters, including the Cook Celect filter, were subject

to perforation through the IVC wall, fracture, and migration or the appropriate

degree of risk of perforation and damage to the vena cava wall and surrounding

organs, blood vessels, and structures.

      25.    At all times relevant hereto, the Cook Defendants continued to promote

Cook’s retrievable IVC filters, including the Cook Celect filter, as safe and effective

even though the clinical trials that had been performed were not adequate to support

long- or short-term safety or efficacy.

      26.    Cook Defendants concealed the known risks and failed to warn of

known or scientifically knowable dangers and risks associated with the Cook

retrievable IVC filters, including the Cook Celect filter, as aforesaid.

      27.    The failure of the Cook filter is attributable, in part, to the fact that the

Cook retrievable IVC filters, including the Cook Celect filter, suffer from a design

defect causing the filters to be unable to withstand the normal anatomical and

physiological loading cycles exerted in vivo.

      28.    At all times relevant hereto, the Cook Defendants failed to provide



                                            8
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 9 of 28 PageID #: 9




sufficient warnings and instructions that would have put Plaintiff and the general

public on notice of the dangers and adverse effects caused by implantation of the

Cook Celect filter, including, but not limited to, the design’s failure to withstand the

normal anatomical and physiological loading cycles exerted in vivo.

       29.   The Cook Celect filter was designed, manufactured, distributed,

marketed, promoted, sold, and/or supplied by Cook Defendants and was marketed

while defective due to the inadequate warnings, instructions, labeling, and/or

inadequate testing in light of Cook Defendants’ knowledge of the product’s failure

and serious adverse events.

       30.   At all times relevant hereto, the officers and/or directors of the Cook

Defendants named herein participated in, authorized, and/or directed the production

and promotion of the aforementioned products when they knew or should have

known of the hazardous and dangerous propensities of said products, and thereby

actively participated in the tortious conduct that resulted in the injuries suffered by

Plaintiff.

                           FRAUDULENT CONCEALMENT

       31.   The Cook Defendants were under a continuing duty to disclose the true

character, quality, and nature of the device that was implanted in Plaintiff, but

instead they concealed them. The Cook Defendants remain under a continuing duty

to disclose the true character, quality, and nature of the device that was implanted in



                                           9
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 10 of 28 PageID #: 10




 Plaintiff, but instead they continue to conceal them. The Cook Defendants’ conduct,

 as described in this complaint, amounts to conduct purposely committed, which they

 must have realized was dangerous, heedless, and reckless, without regard to the

 consequences or the rights and safety of Plaintiff.

                        CORPORATE/VICARIOUS LIABILITY

       32.    At all times herein mentioned, the Cook Defendants were agents,

 servants, partners, aiders and abettors, co-conspirators, and/or joint venturers, and

 were at all times operating and acting within the purpose and scope of said agency,

 service, employment, partnership, conspiracy, and/or joint venture and rendered

 substantial assistance and encouragement to each other, knowing that their collective

 conduct constituted a breach of duty owed to the Plaintiff.

       33.    There exists and, at all times herein mentioned, there existed a unity of

 interest in ownership between the Cook Defendants such that any individuality and

 separateness between them have ceased and these Defendants are alter egos.

 Adherence to the fiction of the separate existence of these Defendants as entities

 distinct from each other will permit an abuse of the corporate privilege and would

 sanction a fraud and/or would not promote injustice.

       34.    At all times herein mentioned, the Cook Defendants were engaged in

 the business of, or were successors in interest to, entities engaged in the business of

 researching, designing, formulating, compounding, testing, manufacturing,



                                           10
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 11 of 28 PageID #: 11




 producing, processing, assembling, inspecting, distributing, marketing, labeling,

 promoting, packaging, prescribing, and/or advertising for sale, and selling products

 for use by the Plaintiff. As such, each Defendant is individually, as well as jointly

 and severally, liable to the Plaintiff for Plaintiff’s damages.

       35.    At all times herein mentioned, the officers and/or directors of the Cook

 Defendants named herein participated in, authorized and/or directed the production,

 marketing, promotion and sale of the aforementioned products when they knew, or

 with the exercise of reasonable care and diligence should have known, of the hazards

 and dangerous propensities of said products, and thereby actively participated in the

 tortious conduct that resulted in the injuries suffered by the Plaintiff.

                                    COUNT I
                                 NEGLIGENCE
                               MCLA §600.2945, et seq.

       36.    Plaintiff realleges and incorporates by reference each and every

 allegation contained in the foregoing paragraphs as though fully set forth herein.

       37.    At all times relevant to this cause of action, the Cook Defendants were

 in the business of designing, developing, setting specifications, manufacturing,

 marketing, promoting, selling, and distributing Cook IVC filters including the Cook

 Celect IVC filter.

       38.    The Cook Defendants designed, manufactured, marketed, inspected,

 labeled, promoted, distributed and sold the Cook Celect filter that was implanted in



                                            11
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 12 of 28 PageID #: 12




 Plaintiff.

        39.   The Cook Defendants had a duty to exercise reasonable and prudent

 care in the development, testing, design, manufacture, inspection, marketing,

 labeling, promotion, distribution and sale of Cook IVC filters, including the Celect

 filter, so as to avoid exposing others to foreseeable and unreasonable risks of harm.

        40.   The Cook Defendants knew or reasonably should have known that the

 Cook Celect filter was dangerous or was likely to be dangerous when used in its

 intended or reasonably foreseeable manner.

        41.   At the time of manufacture and sale of the Cook Celect filter (2007 until

 2015), the Cook Defendants knew or should have known that the Cook Celect filter

 was designed and manufactured so as to present an unreasonable risk of the device

 tilting and/or perforating the vena cava wall.

        42.   At the time of manufacture and sale of the Cook Celect filter (2007 until

 2015), the Cook Defendants knew or should have known that using the Cook Celect

 filter in its intended use or in a reasonably foreseeable manner created a significant

 risk of a patient suffering severe health side effects, including, but not limited to:

 hemorrhage; pericardial effusion; cardiac tamponade; cardiac arrhythmia and other

 symptoms similar to myocardial infarction; perforations of tissue, vessels, and

 organs; and other severe personal injuries and diseases, which are permanent in

 nature, including, but not limited to, death, physical pain and mental anguish,



                                           12
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 13 of 28 PageID #: 13




 scarring and disfigurement, diminished enjoyment of life, continued medical care

 and treatment due to chronic injuries/illness proximately caused by the device; and

 the continued risk of requiring additional medical and surgical procedures including

 general anesthesia, with attendant risk of life threatening complications.

       43.    The Cook Defendants knew or reasonably should have known that

 consumers of the Cook Celect filter would not realize the danger associated with

 using the device in its intended use and/or in a reasonably foreseeable manner.

       44.    The Cook Defendants breached their duty to exercise reasonable and

 prudent care in the development, testing, design, manufacture, inspection,

 marketing, labeling, promotion, distribution and sale of the Cook Celect filter in,

 among others, the following ways:

       a. Designing and distributing a product in which they knew or should have
          known that the likelihood and severity of potential harm from the product
          exceeded the burden of taking safety measures to reduce or avoid harm;
       b. Designing and distributing a product in which they knew or should have
          known that the likelihood and severity of potential harm from the product
          exceeded the likelihood of potential harm from other devices available for
          the same purpose;

       c. Failing to use reasonable care in manufacturing the product and producing
          a product that differed from their design or specifications or from other
          typical units from the same production line;
       d. Failing to use reasonable care to warn or instruct, including pre and post-
          sale, Plaintiff, Plaintiff’s physicians, Plaintiff’s agents or the general health
          care community about the Cook Celect filter’s substantially dangerous
          condition or about facts making the product likely to be dangerous;




                                            13
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 14 of 28 PageID #: 14




       e. Failing to perform reasonable pre and post-market testing of the Cook
          Celect filter to determine whether or not the product was safe for its
          intended use;
       f. Failing to provide adequate instructions, guidelines, and safety
          precautions, including pre and post-sale, to those persons to whom it was
          reasonably foreseeable would prescribe, use, and implant the Cook Celect
          filter;
       g. Advertising, marketing and recommending the use of the Cook Celect
          filter, while concealing and failing to disclose or warn of the dangers
          known by Defendants to be connected with and inherent in the use of the
          Cook Celect filter;
       h. Representing that the Cook filter was safe for its intended use when in fact,
          the Cook Defendants knew and should have known the product was not
          safe for its intended purpose;
       i. Continuing manufacture and sale of the Cook Celect filter with the
          knowledge that said product was dangerous and not reasonably safe;
       j. Failing to use reasonable and prudent care in the design, research,
          manufacture, and development of the Cook Celect filter so as to avoid the
          risk of serious harm associated with the use of the Cook Celect filter;

       k. Advertising, marketing, promoting and selling Cook Celect filter for uses
          other than as approved and indicated in the product’s label;
       l. Failing to establish an adequate quality assurance program used in the
          manufacturing of the Cook Celect filter; and,

       m. Failing to establish and maintain an adequate post-market surveillance
          program.

       45.    A reasonable manufacturer, distributor, or seller under the same or

 similar circumstances would not have engaged in the aforementioned acts and

 omissions.

       46.    As a direct and proximate result of the foregoing negligent acts and



                                          14
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 15 of 28 PageID #: 15




 omissions by the Cook Defendants, Plaintiff has suffered a serious medical

 complication for which the solution and ultimate economic loss is yet to be

 determined.

                              COUNT II
               STRICT PRODUCTS LIABILITY – FAILURE TO WARN
                         MCLA §600.2945, et seq.
       47.     Plaintiff realleges and incorporates by reference each and every

 allegation contained in the foregoing paragraphs as though fully set forth herein.

       48.     The Cook Defendants designed, set specifications, manufactured,

 prepared, compounded, assembled, processed, marketed, labeled, distributed, and

 sold the Cook filters, including the Cook Celect filter implanted into Plaintiff, into

 the stream of commerce and in the course of same, directly advertised and marketed

 the device to consumers or persons responsible for consumers.

       49.     At the time the Cook Defendants designed, manufactured, prepared,

 compounded, assembled, processed, marketed, labeled, distributed, and sold the

 Celect filter into the stream of commerce, the Cook Defendants knew or should have

 known the device presented an unreasonable danger to users of the product when put

 to its intended and reasonably anticipated use. Specifically, the Cook Defendants

 knew or should have known at the time they manufactured, labeled, distributed and

 sold the Cook Celect filter that was implanted in Plaintiff, that the Cook Celect filter,

 inter alia, posed a significant and higher risk than other similar devices of device



                                            15
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 16 of 28 PageID #: 16




 failure (fracture, migration, tilting, and perforation of the vena cava wall) and

 resulting serious injuries.

       50.    Consequently, the Cook Defendants had a duty to warn of the risk of

 harm associated with the use of the device and to provide adequate instructions on

 the safe and proper use of the device.

       51.    The Cook Defendants further had a duty to warn of dangers and proper

 safety instructions that they became aware of even after the device was distributed

 and implanted in Plaintiff.

       52.    Despite their duties, the Cook Defendants failed to adequately warn of

 material facts regarding the safety and efficacy of the Cook IVC filters, including

 the Cook Celect filter, and further failed to adequately provide instructions on the

 safe and proper use of the device.

       53.    No health care provider, including Plaintiff’s, patient or patient’s agent

 would have used the device in the manner directed, had those facts been made known

 to the prescribing healthcare providers and/or ultimate users of the device.

       54.    The health risks associated with the device as described herein are of

 such a nature that ordinary consumers would not have readily recognized the

 potential harm.

       55.    Plaintiff and Plaintiff’s health care providers used the device in a

 normal, customary, intended, and foreseeable manner, namely as a surgically



                                           16
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 17 of 28 PageID #: 17




 implanted device used to prevent pulmonary embolisms.

       56.     Therefore, the Cook Celect filter implanted in Plaintiff was defective

 and unreasonably dangerous at the time of release into the stream of commerce due

 to inadequate warnings, labeling and/or instructions accompanying the product.

       57.     The Cook Celect filter implanted in Plaintiff was in the same condition

 as when it was manufactured, inspected, marketed, labeled, promoted, distributed

 and sold by the Cook Defendants.

       58.     As a direct and proximate result of the foregoing negligent acts and

 omissions by the Cook Defendants, Plaintiff has suffered a serious medical

 complication for which the solution and ultimate economic loss is yet to be

 determined.

                            COUNT III
             STRICT PRODUCTS LIABILITY – DESIGN DEFECT
                        MCLA §600.2945, et seq.
       59.     Plaintiff realleges and incorporates by reference each and every

 allegation contained in the foregoing paragraphs as though fully set forth herein.

       60.     At all times relevant to this action, the Cook Defendants developed,

 tested, designed, manufactured, inspected, labeled, promoted, distributed and sold

 into the stream of commerce the Cook IVC filters, including the Cook Celect filter

 implanted in Plaintiff.

       61.     The Cook Celect filter was expected to, and did, reach its intended



                                          17
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 18 of 28 PageID #: 18




 consumers without substantial change in the condition in which it was in when it left

 the Cook Defendants’ possession. In the alternative, any changes that were made to

 Cook filter implanted in Plaintiff were reasonably foreseeable to the Cook

 Defendants.

       62.     The Cook Celect filter implanted in Plaintiff was defective in design

 because it failed to perform as safely as persons who ordinarily use the product

 would have expected at the time of use.

       63.     The Cook Celect filter implanted in Plaintiff was defective in design,

 in that its risks of harm exceeded its claimed benefits.

       64.     Plaintiff and Plaintiff’s health care providers used the Cook Celect filter

 in a manner that was reasonably foreseeable to the Cook Defendants.

       65.     Neither Plaintiff, nor Plaintiff’s health care providers could have, by

 the exercise of reasonable care, discovered the device’s defective condition or

 perceived its unreasonable dangers prior to Plaintiff’s implantation with the device.

       66.     As a direct and proximate result of the foregoing negligent acts and

 omissions by the Cook Defendants, Plaintiff has suffered a serious medical

 complication for which the solution and ultimate economic loss is yet to be

 determined.

                          COUNT IV
      STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT
                     MCLA §600.2945, et seq.



                                            18
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 19 of 28 PageID #: 19




       67.     Plaintiff realleges and incorporates by reference each and every

 allegation contained in the foregoing paragraphs as though fully set forth herein.

       68.     The Cook Defendants designed, set specifications, manufactured,

 prepared, compounded, assembled, processed, marketed, labeled, distributed, and

 sold the Cook IVC filter that was implanted into Plaintiff.

       69.     The Cook Celect filter implanted in Plaintiff contained a condition or

 conditions, which Defendants did not intend, at the time it left the Cook Defendants’

 control and possession.

       70.     Plaintiff and Plaintiff’s health care providers used the device in a

 manner that was reasonably foreseeable to the Cook Defendants.

       71.     As a result of this condition or these conditions, the product injured

 Plaintiff and failed to perform as safely as the ordinary consumer would expect when

 used in a reasonably foreseeable manner.

       72.     As a direct and proximate result of the foregoing negligent acts and

 omissions by the Cook Defendants, Plaintiff has suffered a serious medical

 complication for which the solution and ultimate economic loss is yet to be

 determined.

                                      COUNT V
                                       FRAUD

       73.     Plaintiff realleges and incorporates by reference each and every

 allegation contained in the foregoing paragraphs as though fully set forth herein.


                                          19
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 20 of 28 PageID #: 20




           74.   At all times relevant to this cause of action, the Cook Defendants were

 in the business of designing, developing, setting specifications for, licensing,

 manufacturing, preparing, packaging, maintaining, labeling, compounding,

 assembling, processing, promoting, selling, distributing, and marketing Cook

 Gunther Tulip IVC filters and Cook Celect IVC filters.

           75.   At the time Plaintiff was implanted the Cook Defendants developed,

 tested, designed, manufactured, inspected, labeled, promoted, distributed, marketed,

 and sold into the stream of commerce the Cook Celect IVC filter placed in his body.

           76.   At all times relevant to this action, the Cook Defendants designed,

 researched, developed, manufactured, tested, labeled, inspected, advertised,

 promoted, marketed, sold, and distributed into the stream of commerce the Gunther

 Tulip and Celect IVC filters for use as a surgically implanted device used to prevent

 pulmonary embolisms and for uses other than as approved and indicated in the

 product’s instructions, warnings, and labels.

           77.   The Cook Defendants falsely and fraudulently represented to Plaintiff,

 his physicians, and other members of the general public, that the Cook Celect IVC

 filter:

                 a.    Has been proven to effectively prevent pulmonary embolism;

                 b.    Was self-centering and offered efficient clot trapping;

                 c.    Was designed       to    minimize   the   most   common     filter
                       complications;


                                               20
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 21 of 28 PageID #: 21




              d.     The anchors on the filter created secure, atraumatic attachments
                     to the caval wall;

              e.     Provided enhanced retrievability giving an extended time for
                     retrieval; and,

              f.     Could safely stay in place permanently in the body.

       78.    In the Clinical Study section of the Instructions for Use provided to the

 physicians who were implanting the Cook Celect IVC filter, including the filter

 implanted in the Plaintiff, the Cook Defendants states a clinical study involved a 74

 patient cohort, with follow-up conducted at 1 month (60 of 69 possible patients), 3

 months (50 of 58 possible patients) and 6 months (37 of 41 possible patients)

 consisting of clinical exam and imaging by X-ray and duplex ultrasound, no device

 related major adverse events (defined as hemorrhage, perforation, death, occlusion,

 filter fracture or significant filter migration) occurred.

       79.    The representations by the Cook Defendants were, in fact, false. The

 true facts were that the Cook Celect IVC filter is not safe for long term/permanent

 surgical implantation for said purposes, it has not been proven the filter effectively

 prevents pulmonary embolism; the filter presents a high risk of perforation through

 the caval wall, the filter has a high risk for fracture, and the filter is not safe for

 permanent placement in the body.          In the clinic study that was presented to

 physicians through the instructions for use, the IFU gives a false sense of safety by

 reporting on a subset of OUS patients regarding high rates of successful retrieval

 rates and no complications, which has been shown to be incorrect. The retrieval rates


                                            21
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 22 of 28 PageID #: 22




 listed give a false sense of safety when the OUS study did not address safety, and

 falsified complication and perforation rates. The Celect filter was and is, in fact,

 dangerous to the health and body of Plaintiff.

       80.     When the Cook Defendants made the aforesaid representations, and

 others, they knew them to be false, and those representations were made by the Cook

 Defendants with the intent to defraud and deceive Plaintiff and his physicians, and

 with the intent to induce Plaintiff and his physicians to act in the manner herein

 alleged, i.e., to use the Cook Celect IVC filter in surgery.

       81.     As a direct and proximate result of the foregoing negligent acts and

 omissions by the Cook Defendants, Plaintiff has suffered a serious medical

 complication for which the solution and ultimate economic loss is yet to be

 determined.

                                COUNT VI
                      NEGLIGENT MISREPRESENTATION

       82.     Plaintiff realleges and incorporates by reference each and every

 allegation contained in the foregoing paragraphs as though fully set forth herein.

       83.     At all times relevant to this cause, and as detailed herein, the Cook

 Defendants negligently provided Plaintiff, Plaintiff’s health care providers, and the

 general medical community with false or incorrect information, or omitted or failed

 to disclose material information concerning Cook IVC filters and the Cook Celect

 filter; including, but not limited to, misrepresentations relating to the safety, efficacy,


                                             22
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 23 of 28 PageID #: 23




 failure rate and approved uses of the Cook IVC filter.

       84.    The Cook Defendants falsely represented to Plaintiff, his physicians,

 and other members of the general public, that the Cook Celect IVC filter:

              a. Was proven to be hemodynamically effective;

              b. Has been proven to effectively prevent pulmonary embolism;
              c. Was self-centering and offered efficient clot trapping;

              d. Was designed to minimize the most common filter complications;

              e. The anchors on the filter created secure atraumatic attachments to
                 the caval wall;

              f. Provided enhanced retrievability giving an extended time for
                 retrieval; and
              g. Could safely stay in place permanently in the body.
       85.    In the Clinical Study section of the Instructions for Use provided to the

 physicians who were implanting the Cook Celect IVC filter, including the filter

 implanted in the Plaintiff, the Cook Defendants states a clinical study involved a 74

 patient cohort, with follow-up conducted at 1 month (60 of 69 possible patients), 3

 months (50 of 58 possible patients) and 6 months (37 of 41 possible patients)

 consisting of clinical exam and imaging by X-ray and duplex ultrasound, no device

 related major adverse events (defined as hemorrhage, perforation, death, occlusion,

 filter fracture or significant filter migration) occurred.

       86.    The representations by the Cook Defendants were, in fact, false. The

 true facts were that the Cook Celect IVC filter is not safe for long term/permanent



                                            23
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 24 of 28 PageID #: 24




 surgical implantation for said purposes, it has not been proven the filter effectively

 prevents pulmonary embolism; the filter presents a high risk of perforation through

 the caval wall, the filter has a high risk for fracture, and the filter is not safe for

 permanent placement in the body.        In the clinic study that was presented to

 physicians through the instructions for use, the IFU gives a false sense of safety by

 reporting on a subset of OUS patients regarding high rates of successful retrieval

 rates and no complications, which has been shown to be incorrect. The retrieval rates

 listed give a false sense of safety when the OUS study did not address safety, and

 falsified complication and perforation rates. The Celect filter was and is, in fact,

 dangerous to the health and body of Plaintiff.

       87.    The information distributed by the Cook Defendants to the public, the

 medical community and Plaintiff’s health care providers, including reports, press

 releases, advertising campaigns, labeling materials, print advertisements,

 commercial media containing material representations, was false and misleading,

 and contained omissions and concealment of truth about the dangers of the use of

 the Cook IVC filters, including the Cook Celect Filter. The Cook Defendants made

 the foregoing misrepresentations knowing that they were false and/or without

 reasonable basis in fact. These materials included instructions for use and warning

 document that was included in the packaging of the Cook Celect filter that was

 implanted in Plaintiff.



                                           24
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 25 of 28 PageID #: 25




       88.    The Cook Defendants’ intent and purpose in making these

 misrepresentations was to deceive and defraud the public and the medical

 community, including Plaintiff’s health care providers; to gain the confidence of the

 public and the medical community, including Plaintiff’s health care providers; to

 falsely assure them of the quality of the Cook IVC filters, including the Celect IVC

 filter and its fitness for use; and to induce the public and the medical community,

 including Plaintiff’s healthcare providers to request, recommend, prescribe, implant,

 purchase, and continue to use Cook IVC filters, including the Cook Celect filter.

       89.    In reliance upon the false and negligent misrepresentations and

 omissions made by the Cook Defendants, Plaintiff, Plaintiff’s health care providers

 and the Plaintiff’s agents were induced to, and did use the Cook Celect filter, thereby

 causing Plaintiff to sustain severe personal injuries.

       90.    The Cook Defendants knew and had reason to know that Plaintiff,

 Plaintiff’s health care providers, and the general medical community did not have

 the ability to determine the true facts intentionally and/or negligently concealed and

 misrepresented by the Cook Defendants, and would not have prescribed and

 implanted same, if the true facts regarding the device had not been concealed and

 misrepresented by the Cook Defendants.

       91.    The Cook Defendants had sole access to material facts concerning the

 defective nature of the product and its propensity to cause serious and dangerous



                                           25
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 26 of 28 PageID #: 26




 side effects in the form of dangerous injuries and damages to persons who are

 implanted with the Cook filter.

        92.       At the time Cook Defendants failed to disclose and misrepresented the

 foregoing facts, and at the time Plaintiff used the Cook Celect filter, Plaintiff,

 Plaintiff’s health care providers and the Plaintiff’s agents were unaware of said Cook

 Defendants’ negligent misrepresentations and omissions.

        93.       Plaintiff, Plaintiff’s health care providers, the Plaintiff’s agents and

 general medical community reasonably relied upon misrepresentations and

 omissions made by the Cook Defendants where the concealed and misrepresented

 facts were critical to understanding the true dangers inherent in the use of the Cook

 Celect filter.

        94.       Plaintiff, Plaintiff’s health care provider’s and Plaintiff’s agents’

 reliance on the foregoing misrepresentations and omissions by Cook Defendants’

 were the direct and proximate cause of Plaintiff’s injuries as described herein.

                                COUNT VII
                      KNOWLEDGE OF DEFECTIVE PRODUCT
                             MCLA §600.2949A

        95.       Plaintiff realleges and incorporates by reference each and every allega-

 tion contained in the foregoing paragraphs as though fully set forth herein.




                                              26
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 27 of 28 PageID #: 27




       96.    On information and belief, Defendants had actual knowledge that the

 Cook Celect filter implanted in Plaintiff was defective and that there was a substan-

 tial likelihood that this defect would cause injury, and Defendants willfully disre-

 garded that knowledge.

       97.    As a direct and proximate result of Defendants action, Plaintiff sus-

 tained the injuries and damages described above.

                            PRAYER FOR DAMAGES

       WHEREFORE, Plaintiff, LARRY ARMSTRONG, prays for relief on the

 entire complaint, as follows:

        a.    Judgment to be entered against all Defendants on all causes of action of
              the Complaint, including but not limited to:
              1.    Mental anguish in the past and which, in reasonable probability,
                    he will sustain in the future; and,
              2.    Reasonable and necessary medical expenses for treatment
                    received in the past and, based upon reasonable medical
                    probability, the reasonable medical expenses he will need in the
                    future;
       b.     Plaintiff be awarded full, fair, and complete recovery for all claims and
              causes of action relevant to this action;

       c.     Plaintiff be awarded all appropriate costs, fees, expenses, and pre-
              judgment and post-judgment interest on the judgments entered in
              Plaintiff’s behalf; and,
       d.     Such other relief the court deems just and proper.

                          DEMAND FOR JURY TRIAL
       Plaintiff hereby demands trial by jury on all issues.



                                          27
Case 1:22-cv-06768-RLY-TAB Document 1 Filed 03/02/22 Page 28 of 28 PageID #: 28




 DATED: March 2, 2022         Respectfully Submitted,

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                                      28
